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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO




 UNITED STATES OF AMERICA,


 Plaintiff(s),
                                                   CRIMINAL NO. 10-138 (GAG)
 v.


 JONATHAN ORTIZ-TORRES,
 ANGEL SANTANA-ESPINET,
 LEROY SANTANA-ROSADO,


 Defendant(s).




                                             ORDER

       Before the Court is the Government’s Reply to Defendants’ Sealed Response to the

Government’s Motion for Reconsideration (Docket No. 163), the Defendants’ Joined Sealed

Surreply (Docket No. 174), as well as the United States’ Motion for Reconsideration (Docket No.

131), Defendants’ Sealed Response to Government’s Motion for Reconsideration (Docket No. 145).

       The defendants request that the Court, in the context of Brady, Giglio and Kyles (rather than

under Fed. R. Crim. P. 16), order the government to produce (at least for in camera inspection), the

U.S. Attorney’s death penalty memorandum submitted to the Attorney General.

       The Court hereby denies defendants’ request for discovery of the death penalty memorandum.
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       Brady fosters the preservation of fairness of criminal trials. However, fairness does not

equate to an obligation on behalf of the government to reveal prosecutorial strategies, legal theories

or impressions of the evidence.1

       Notwithstanding the preceding, the Court shall nonetheless order the government to present

for ex parte, in camera inspection the death penalty memorandum (or memoranda) at issue.

       This case is unique. The government, at a very early stage has disclosed Brady - Giglio

evidence to the defense. Not only are there seemingly varied versions of fact by government

witnesses. More so, one factual version could, if believed by the jury, lead to a conclusion that a

carjacking under 18 U.S.C. § 2119 did not result.

       Not only do we have the above, but further, this is a case where the FBI’s 302 was amended

to now include facts conclusively supporting that a carjacking indeed occurred. This, within two

weeks of the preliminary hearing and a day prior to the issuance of the indictment.2

       While the government’s proffered reasons for amending the FBI 302 are entirely plausible,

the Court cannot recall even confronting such a situation as this in the past. Nor has the Court found,

or the parties brought forth, similar instances. Additionally, if the original FBI 302 was a draft, then

why was it produced as discovery in the first instance?




            1
             The Supreme Court has not decided whether the government’s work-product must be
    disclosed under Brady. Goldberg v. U.S., 425 U.S. 94, 98 n.3 (1976). Nor has the First Circuit.

            2
              The original FBI 302 was redacted on March 25, 2010, two days after the FBI agents
    interviewed defendant Ortiz Torres. The preliminary hearing took place on April 7, 2010, and the
    issue of whether a carjacking had indeed occurred was first brought to the attention of the Court by
    the defense. On April 21, 2010 the FBI 302 was amended. And, on April 22, the indictment was
    issued.
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        In this case the defendants face a possible life or death (if certified) sentence. The Court, is

thus compelled, in this instance, to review the government’s death penalty memorandum (or

memoranda) to ascertain whether the United States in fact complied with its duties under Brady.

        The Court advises the government that it only intends to confirm that what was already

provided to the defense as Brady - Giglio material is all that the government has at this time, and that

the government has not committed any misconduct by not disclosing any exculpatory evidence. The

Court, however, is clear, that what is included or not included in the memorandum, or any analysis

of the evidence is not covered by Brady.3 In other words, the Court does not intend to disclose to

the defense any governmental work-product.

        Finally, the Court notes that this is not the first instance of a federal court ordering in camera

review of a privileged death penalty memorandum. See United States v. Llera Plaza, 181 F.Supp.

2d 414, 420 (E.D. PA. 2002). In said case, the Court reviewed in camera the governmental

memorandum and determined that the prosecution acted lawfully.

        The government shall submit for in camera inspection on or before December 1, 2010, the

documents object of this order.




        SO ORDERED.

        In San Juan, Puerto Rico this 22nd day of November, 2010.

                                                                  s/ Gustavo A. Gelpí
                                                                 GUSTAVO A. GELPI
                                                             United States District Judge



             3
                 Likewise it is not a “statement” for Jencks purposes.
